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                      Progressive massive fibrosis: An overview of the recent
                      literature
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                      Abstract
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                           This review provides an overview of literature addressing progressive massive fibrosis (PMF) from
                           September 2009 to the present. Advances are described in understanding its pathophysiology,
                           epidemiology of the occurrence of PMF and related conditions, the impact of PMF on pulmonary
                           function, advances in imaging of PMF, and factors affecting progression of pneumoconiosis in
                           dust-exposed workers to PMF. Basic advances in understanding the etiology of PMF are impeded
                           by the lack of a well-accepted animal model for human PMF. Recent studies evaluating lung tissue
                           samples and epidemiologic investigations support an important role for the silica component of
                           coal mine dust in causing coal workers’ pneumoconiosis and PMF in contemporary coal miners in
                           the United States and for silica in causing silicosis and PMF in artificial stone workers throughout
                           the world. Development of PMF is associated with substantial decline in pulmonary function
                           relative to no disease or small opacity pneumoconiosis. In recent reports, computed tomography
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                           has had greater sensitivity for detecting PMF than chest x-ray. Magnetic resonance imaging shows
                           promise in differentiating between PMF and lung cancer. Although PMF develops in dust-exposed
                           workers without previously identified small opacity pneumoconiosis, the presence of small opacity
                           pneumoconiosis increases the risk for progression to PMF, as does heavier dust exposure. Recent
                           literature does not document any effective new treatments for PMF and new therapies to prevent
                           and treat PMF are an important need.


                      Keywords
                           Progressive massive fibrosis; Coal workers’ pneumoconiosis; Silicosis; Chest imaging; Pulmonary
                           function; Antifibrotic
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                      1.     Introduction/Background
                                         Progressive massive fibrosis (PMF) is the most severe form of the dust-induced lung
                                         diseases chronic silicosis and coal worker’s pneumoconiosis (CWP) (Castranova &


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                      Declaration of Competing Interest
                      The author is a full time employee of the U.S. government and declares that there are no conflicts of interest.
                      Disclaimer
                      The findings and conclusions in this report are those of the author (s) and do not necessarily represent the official position of the
                      National Institute for Occupational Safety and Health, Centers for Disease Control and Prevention.
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                                     Vallyathan, 2000). Milder forms of these diseases often first present on chest radiographs
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                                     as small (<one cm) opacities in the lungs, which may be rounded with an upper zone
                                     predominance or irregular with lower zone predominance (Laney & Petsonk, 2012; Laney
                                     & Weissman, 2014; Petsonk, Rose, & Cohen, 2013). Nodules develop as inflammatory and
                                     fibrotic reactions to inhaled dust. As fibrosis progresses, the small nodules may coalesce
                                     into larger masses of fibrotic tissue, resulting in PMF, also referred to as conglomerate
                                     or complicated disease (Fig. 1). PMF is defined radiographically by the formation of
                                     large (diameter ≥ one cm) opacities. In the case of silicosis, sometimes a larger diameter
                                     (≥ two cm) has been used as a threshold for pathologically defining fibrotic masses as
                                     PMF. Extensive fibrosis, emphysema formation, and cavitation and destruction of lung
                                     parenchyma including blood vessels and bronchioles can result in significant impairment
                                     of pulmonary function. On chest radiography, PMF may be confused with carcinoma,
                                     tuberculosis, or abnormalities caused by bacterial infections (Castranova & Vallyathan,
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                                     2000). Important risk factors for developing PMF include high levels of cumulative
                                     respirable coal mine dust or respirable crystalline silica inhalation, the presence of small
                                     opacity disease, and history of tuberculosis (Attfield et al., 2022; Ng & Chan, 1991).
                                     Because the presence of PMF is associated with a substantial worsening in morbidity and
                                     mortality, efforts to control exposures to coal mine dust are strongly focused on preventing
                                     PMF (Attfield et al., 2022). PMF is most often caused by CWP and silicosis and thus PMF
                                     caused by those diseases is the focus of this review. However, a small number of cases
                                     of PMF have been also described in pulmonary talcosis (Gibbs et al., 1992) and kaolin
                                     pneumoconiosis (Edenfield Edenfieid, 1960). Also, large conglomerate masses resembling
                                     PMF can occur in sarcoidosis (Criado et al., 2010).

                                     This overview provides an update on recent original scientific literature addressing PMF.
                                     Reports published in the period from September 2009 through May 2022 were identified
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                                     by searching PubMed and are summarized to provide an update on recent advances in
                                     understanding PMF, including its pathophysiology, epidemiology of occurrence, impact on
                                     pulmonary function tests, radiologic imaging, and risk of progression from no or small
                                     opacity disease to PMF.


                      2.       Approach to overview of the recent literature
                                     The review was conducted as an overview of the literature (Grant & Booth, 2009).
                                     References were identified by searching PubMed (https://pubmed.ncbi.nlm.nih.gov/?term=)
                                     for the term “progressive massive fibrosis.” Inclusion criteria for references were that they
                                     were peer reviewed journal articles listed in PubMed that contained the term “progressive
                                     massive fibrosis” in fields searched by PubMed, addressed pulmonary disease caused by
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                                     mineral dust, contained original data, and were written in English. Individual case reports
                                     were excluded. The author read titles and abstracts of all articles identified through the
                                     PubMed search to identify those meeting the inclusion and exclusion criteria. Frequent
                                     reasons for exclusion of references were that they addressed fibrosis in organs other than
                                     the lung or that they were reviews without original data. Final selections for inclusion
                                     were made based on more detailed review and examination of full-length articles. The
                                     period searched was September 2009 until May 30, 2022. A total of 54 references were
                                     identified that met inclusion criteria and were selected for inclusion in this overview (Table


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                                    1). Findings from the 54 recent references are summarized below. Based on the topics
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                                    addressed by the references, they are grouped into the following categories: pathophysiology
                                    of PMF, epidemiology of occurrence of PMF and associated conditions in a range of
                                    work and environmental settings, impact of PMF on pulmonary function, imaging of PMF
                                    and radiographic progression to PMF over time. In some cases, additional references not
                                    identified by the PubMed search are cited in the narrative to provide background.


                      3.       Pathophysiology
                                    Relatively little is known about the specific mechanisms that underlie progression from
                                    small opacities of silicosis and CWP to PMF. This is at least partly due to a lack of a
                                    generally recognized rodent model for human PMF (Green, Vallyathan, & Hahn, 2007). In
                                    contrast, basic mechanisms for cellular damage and development of a fibrotic pulmonary
                                    response to inhaled respirable crystalline silica has been extensively studied (Adamcakova
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                                    & Mokra, 2021; Hamilton Jr, Thakur, & Holian, 2008; Sayan & Mossman, 2015).
                                    Likely cellular targets of inhaled crystalline silica particles include alveolar macrophages
                                    and respiratory epithelial cells. Crystalline silica particles can interact with cell-surface
                                    scavenger receptors on alveolar macrophages and activate a multiprotein complex called
                                    the nucleotide-binding oligomerization domain (NOD-like) receptor (NLR), pyrin domain-
                                    containing 3 (NLRP3) inflammasome. In turn, NLRP3 activates caspase-1, leading to
                                    conversion of cytokines such as interleukin (IL)-1β and IL-18 from inactive into active
                                    forms. It also causes extracellular release of growth factors and alarmins such as basic
                                    fibroblast growth factor (bFGF) and high mobility group protein B1 (HMGB1) (Peeters
                                    et al., 2014). Crystalline silica particles can also generate free radicals that are directly
                                    cytotoxic to cellular targets, another likely trigger for fibrogenic factor release (Castranova
                                    & Vallyathan, 2000).
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                                    Single nucleotide polymorphisms were evaluated as risk factors for PMF in coal miners
                                    (Yucesoy et al., 2008). A combination of three single nucleotide polymorphisms in
                                    the genes for vascular endothelial growth factor (VEGF), intercellular cell adhesion
                                    molecule (ICAM-1) and IL-6 was associated with significantly increased risk for PMF,
                                    whereas individual polymorphisms were not associated with increased risk, suggesting the
                                    importance of multiple cytokines and growth factors in PMF.

                                    Several papers identified in the literature search addressed pathophysiology of PMF. Komai
                                    et al. described a model of silicosis induced in F344 female rats by intratracheal instillation
                                    of 10 mg Min-U-Sil-5 (Komai et al., 2019). Rats were sacrificed at one, three, six, and
                                    12 months after instillation. There was time-dependent progressive fibrosis in the lungs,
                                    with formation of silicotic nodules, PMF, and diffuse interstitial fibrosis. Western blotting,
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                                    immunohistochemistry, light microscopy, and electron microscopy findings suggested that
                                    enhanced TGF-β expression and epithelial-mesenchymal transition of hyperplastic type II
                                    epithelial cells are involved in the development of progressive massive pulmonary fibrosis
                                    during silicosis.

                                    Lee et al. evaluated levels of serum interleukin-8 (IL-8), macrophage inflammatory
                                    protein-1α (MIP-α), and intercellular adhesion molecule-1 (ICAM-1) in relation to presence


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                                or absence of PMF in retired coal miners (Lee, Shin, & Choi, 2015). Twenty-seven did not
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                                have radiographic pneumoconiosis, 59 had simple (small opacity) pneumoconiosis, and 20
                                had PMF. IL-8 levels were higher in those with PMF than those with no pneumoconiosis
                                (p < 0.001) or simple CWP (P = 0.003). Also, levels of ICAM-1 were higher in those with
                                PMF than those with no pneumoconiosis (p = 0.001) and tended to be higher than in those
                                with simple pneumoconiosis (p = 0.054). In another study evaluating serum markers in PMF,
                                Garcia-Nunez et al. studied 22 healthy male volunteers without exposure to silica dust, 53
                                male former engineered stone workers with small opacity silicosis, and 38 male former
                                engineered stone workers with PMF (García-Núñez et al., 2022). Out of many potential
                                blood biomarkers, lactate dehydrogenase (LDH), angiotensin-converting enzyme (ACE), and
                                fibrinogen were the ones that showed increases from controls to small opacity disease to
                                PMF. However, only LDH was significantly different between small opacity disease and
                                PMF.
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                                Several reports evaluating human lung pathology identified the importance of crystalline
                                silica in rapidly progressive pneumoconiosis including PMF among coal miners in the
                                United States. Coal mine dust contains many components including coal, crystalline silica,
                                silicates, and other materials. A study from 2016 reviewed lung pathology from 13
                                contemporary coal miners with rapidly progressive pneumoconiosis. Many had features
                                of accelerated silicosis and mixed dust lesions. Twelve had PMF and 11 had silicosis.
                                Polarized light microscopy demonstrated large amounts of birefringent mineral dust particles
                                consistent with silica and silicates in the lungs (Cohen et al., 2016). A study from 2022
                                evaluated lung pathology findings from 23 contemporary coal miners and 62 historical
                                controls with PMF (Cohen et al., 2022). Contemporary coal miners were more likely to have
                                silica-type PMF and mineral dust-associated alveolar proteinosis, a finding associated with
                                acute silicosis, than historical controls. They were less likely to have coal-type PMF and
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                                coal macules than historical controls. Contemporary coal miners had a greater concentration
                                of silica particles and percent of particles that contained silica in their lungs, as well as a
                                greater percent of particles that contained aluminum silicates, than historical controls. Also,
                                the concentration of particles containing silica was greater in the presence of silica-type
                                PMF, mineral dust-associated alveolar proteinosis, silicotic nodules, or immature silicotic
                                nodules. These findings support the importance of respirable crystalline silica as a cause
                                of pneumoconiosis, including PMF, in contemporary coal miners in the United States. This
                                is in marked contrast to an earlier study that evaluated lungs obtained from coal miners’
                                autopsies from 1971 through 1996. It found significant decreases in findings of CWP,
                                silicosis, and PMF in miners who had worked after promulgation of stricter dust standards in
                                1969 (Vallyathan et al., 2011).
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                                Leon-Jimenez et al. evaluated mineral content in artificial stone countertop material
                                and in the lungs of seven Spanish artificial stone workers (León-Jiménez et al., 2021).
                                Artificial stone countertop material was largely composed of crystalline silica, with variable
                                proportions of quartz and cristobalite depending on the sample. Lung biopsy samples
                                evaluated using scanning electron microscopy and energy dispersive x-ray spectroscopy
                                showed higher elemental proportions of silicon and aluminum at the center of silicotic
                                nodules with decreasing levels at the periphery. Silicon and aluminum concentrations
                                correlated with each other. At presentation, one of the seven stone workers had PMF. After

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                                     follow-up for an average of 8 years, four had PMF. Nodule silicon content was significantly
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                                     correlated with radiographic progression rate per year. A trend was also noted for aluminum
                                     content, but it did not reach statistical significance.

                                     Thus, themes from recent literature on the pathophysiology of PMF include the importance
                                     of crystalline silica as a cause of PMF in contemporary coal miners from the United States
                                     and in silica-exposed artificial stone workers. In addition, the presence of PMF is associated
                                     with blood markers of inflammation and injury with the potential to be useful as biomarkers
                                     of disease.


                      4.       Epidemiology of occurrence of PMF and related conditions in work and
                      environmental settings
                                     Many of the reports identified in the recent literature describe issues such as burden and risk
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                                     factors for PMF in various coal mine dust- and silica-exposed populations. Examples include
                                     contemporary coal miners affected by an outbreak of CWP in the United States and workers
                                     in many countries exposed to respirable crystalline silica such as sandblasters and artificial
                                     stone workers.

                                     Recent reports describe increases in the burden of PMF among contemporary coal miners
                                     in the United States. Almberg et al. found that from January 1, 1970 until December 31,
                                     2016, there were 4679 unique PMF cases among claimants filing for benefits from the Black
                                     Lung Benefits Program (Almberg et al., 2018). Two thousand four hundred seventy-four
                                     were identified on or after 1996, when the annual proportion of claimants with PMF started
                                     to significantly increase. Most claimants had worked in central Appalachia. Graber et al.
                                     evaluated Black Lung Benefits claimants from 2001 to 2013 and noted that prevalence of
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                                     advanced disease was higher among those who started working as coal miners after 1970, as
                                     well as in claimants who were aged 56 years and younger or 80 years and older (Graber et
                                     al., 2017).

                                     Other reports from the United States describe the burden of CWP and PMF among diverse
                                     coal mining populations including participants in national coal workers’ health surveillance
                                     (Blackley et al., 2018; Blackley, Crum, Halldin, Storey, & Laney, 2016; Hall et al., 2022),
                                     coal miners with PMF as patients in clinics in Kentucky (Blackley et al., 2016) and western
                                     Virginia (Blackley, Halldin, & Laney, 2018), and coal miners who had compensation claims
                                     approved by the West Virginia State Occupational Pneumoconiosis Board (Wade, Petsonk,
                                     Young, & Mogri, 2011). These reports show PMF among coal miners to be a significant
                                     and increasing problem, with Blackley et al., 2016 showing that as of 2015, >5 % of
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                                     underground coal miners from central Appalachia with mining tenure of 25 years or more
                                     who participated in a national health surveillance program had PMF (Blackley et al., 2016).
                                     A report focusing on American Indian and Alaska Native coal miners, primarily in the
                                     western United States, who participated in surveillance from 2014 to 2019 found that of
                                     those with at least 10 years’ tenure, 3 % had radiographic findings of pneumoconiosis
                                     and 0.3% findings of PMF (Hall et al., 2022). Three reports showed that pneumoconiosis,
                                     including PMF, also occurred in U.S. surface coal miners, particularly those engaged in
                                     activities such as drilling, which is associated with respirable crystalline silica exposure


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                                (Hall, Halldin, Blackley, & Laney, 2020; Halldin et al., 2015; Laney, Wolfe, Petsonk and
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                                Halldin, 2012).

                                Several reports seek to explain underlying causes of recent increases in CWP, including
                                PMF, in the United States. In one report, investigators interviewed 19 Appalachian former
                                coal miners with PMF to identify potential issues that might have affected these miners.
                                Many of the miners reported having to cut through rock to extract coal. They also reported
                                other issues such as working downwind of dust-generating equipment, nonadherence to
                                mine ventilation plans and dust controls, and improper sampling for respirable coal mine
                                dust. They reported continuing to work even after developing respiratory illness (Reynolds
                                et al., 2018). Several studies found that working in small mines, which likely had less
                                safety resources and sophistication than large mines, was a risk factor for CWP, including
                                PMF (Blackley, Halldin, Wang, & Laney, 2014; Laney & Attfield, 2010; (Laney, Petsonk,
                                Hale, Wolfe and Attfield, 2012)). One study implicated increased exposure to respirable
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                                crystalline silica in coal mine dust as a cause for increased PMF in central Appalachian coal
                                miners (Laney, Petsonk and Attfield, 2010). It found increases in both r-type opacities, a
                                radiographic finding associated with silicosis, and PMF in Central Appalachian coal miners
                                after 1999 compared to earlier years. Finally, several studies already discussed in the section
                                on pathophysiology used lung pathology data to identify the importance of crystalline silica
                                as a component of the complex mixture of materials found in coal mine dust in causing
                                pneumoconiosis and PMF (Cohen et al., 2016; Cohen et al., 2022).

                                PMF in silica-exposed workers has also received much attention in the recent literature. Two
                                reports addressed the hazards of sandblasting. One report compared Brazilian sandblasters to
                                Brazilian stone masons. Sandblasters were more likely to have PMF and had more severely
                                impaired exercise tolerance (Lopes et al., 2012). Another report described 32 Turkish men
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                                with silicosis due to work as denim sandblasters. Their mean age at diagnosis was 31.5
                                years. They had worked as denim sandblasters for a mean of 66.4 h per week for a median
                                28.5 months. At diagnosis, 11 had PMF and over the period of follow up, 6 died from PMF
                                (Bakan et al., 2011).

                                Silicosis, including PMF, in artificial (engineered) stone workers is an emerging
                                international issue. Artificial stone is an engineered product that contains a high percentage
                                of crushed quartz bound together with polymeric resins and pigments (León-Jiménez et al.,
                                2021). Respirable dust can be generated from artificial stone by actions such as grinding,
                                cutting, and drilling the material. An Israeli case series described 25 artificial stone workers
                                with silicosis who were referred for lung transplantation evaluation from January 1997 to
                                December 2010 (Kramer et al., 2012). All had engaged in dry cutting of artificial stone. Two
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                                had PMF. Ten underwent lung transplantation and three died without lung transplantation.
                                An Australian case series describes seven cases in workers who did dry cutting of artificial
                                stone in small kitchen and bathroom benchtop fabrication businesses (Hoy et al., 2018). Six
                                of seven patients had PMF. The median duration of exposure prior to symptoms was seven
                                years. One report compared artificial stone silicosis (18 patients) to natural stone-associated
                                silicosis (63 patients) in Chinese workers who developed silicosis (Wu, Xue, Yu, & Ye,
                                2020). A high proportion of those with artificial stone-associated silicosis had PMF (14/18
                                patients). Artificial stone-associated silicosis had shorter latency from onset of exposure to


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                                silicosis (6.4 vs. 29.3 years), more rapid radiological progression, accelerated decline in lung
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                                function and high mortality (27.8% vs. 0.0% during a 6 to 12 month period of follow up).

                                A multinational registry of 169 artificial stone workers with silicosis from Israel, Spain,
                                Australia, and the United States provides much information about the clinical features of
                                silicosis in this population (Hua et al., 2022). PMF was present in 55 (32.5%) of these
                                workers, with 10 (18.5%) reporting that they had worked in the artificial stone industry for
                                10 years or less. Among 154 artificial stone workers with data available, 33 (21.4%) were
                                diagnosed with an autoimmune disease or had abnormal autoimmune serology. Diagnosed
                                autoimmune diseases including rheumatoid arthritis (nine workers) systemic sclerosis (seven
                                workers) and psoriasis/psoriatic arthritis (six workers). It was not reported if presence of
                                PMF was associated with the diagnosis of an autoimmune disease or abnormal autoimmune
                                serology.
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                                Silicosis and PMF were also described in other settings. Respirable crystalline silica
                                exposure causing PMF was described in six stonemasons presenting to two specialist
                                respiratory clinics in Edinburgh, Scotland from 2007 to 2013 (Nicol, McFarlane, Hirani,
                                & Reid, 2015). It is not stated if they were exposed to artificial stone, but all were
                                asymptomatic or minimally symptomatic and identified by radiographic surveillance. Three
                                had already progressed to PMF at the time of referral, showing the importance of dust
                                control and organized health surveillance to identify cases prior to progression to advanced
                                disease. Silicosis and PMF were also identified among workers in Sri Lanka processing
                                quartz for use in products such as microchips (Siribaddana et al., 2016), and in India among
                                sandstone mine workers (Nandi, Dhatrak, & Sarkar, 2021) and stone crushing workers
                                (Govindagoudar et al., 2021).
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                                A report from the United States describes all cases of silicosis reported to the state of
                                Michigan from 1988 to 2016 (Reilly, Timmer, & Rosenman, 2018). A total of 1048 cases
                                were reported. Numbers of reported cases declined to 136 during the period 2008–2016.
                                The primary industries where cases were employed included manufacturing (874 cases),
                                construction (98 cases) and mining (47 cases). Within manufacturing, 706 cases worked
                                in foundries. The cases identified were severe. 22% had PMF and 38% had small opacity
                                profusion 2 or 3. African American men aged 40 and older had a 5-fold greater cumulative
                                incidence rate than white men.

                                One report described a series of six nonoccupational cases of anthracosis and silicosis
                                (anthracosilicosis) in Kashmir, India (Spalgais, Gothi, Jaiswal, & Gupta, 2015). All the
                                patients were women and were homemakers with an average age of 56 years. On average,
                                they had been symptomatic for four years. Chest computed tomography (CT) documented
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                                PMF and calcified mediastinal lymph nodes in four of six cases. Bronchoscopy documented
                                anthracosis with narrowing and distortion of the bronchus in five of six cases. Silicosis was
                                attributed to regional dust storms with high levels of silica and particles small enough to be
                                inhaled. Anthracosis was attributed large amounts of time spent in poorly ventilated indoor
                                spaces where biomass burning was used for heating and cooking.




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                                    A report sought to examine the relationship between CWP, including with PMF, and risk
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                                    for incident lung cancer in Czech coal miners (Tomaskova, Jirak, Splichalova, & Urban,
                                    2012). It found that compared to the general male population of the Czech Republic,
                                    risk for incident lung cancer was approximately doubled in miners with CWP and was
                                    approximately quadrupled in the 95 miners with PMF (nine cases observed; 2.1 expected).
                                    There was no increased risk for lung cancer in ex-miners without CWP. The study’s findings
                                    are weakened by issues including lack of information about smoking in 51% of the miners
                                    with lung cancer and so do not establish a causal relationship between coal mining and lung
                                    cancer.

                                    Several themes emerge from recently published epidemiological studies. Respirable
                                    crystalline silica has played an important role in the mixed dust pneumoconiosis including
                                    PMF that has emerged over the past several decades among coal miners in the United States.
                                    Artificial stone work is an important internationally emerging source of crystalline silica
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                                    exposure, silicosis, and PMF, and workers can present with advanced disease after less than
                                    ten years of exposure. In addition, silica exposure and PMF continue to occur in traditionally
                                    recognized settings such as sandblasting, foundry work, and stone crushing operations.


                      5.       PMF and pulmonary function
                                    Recent literature has evaluated the association of PMF with various measures of pulmonary
                                    function. Several have examined this relationship in coal miners. Wang et al. evaluated
                                    relationships between chest x-ray and spirometry findings in U.S. coal miners (Wang,
                                    Beeckman-Wagner BeeckmanWagner, Wolfe, Syamlal, & Petsonk, 2013). Based on
                                    multivariate analyses adjusted for age, body mass index, underground tenure, and cigarette
                                    smoking, they found that coal miners with simple CWP had a 1.8-fold greater risk of
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                                    suffering abnormal lung function than miners without CWP and that miners with PMF
                                    had a 3.7-fold greater risk of lung-function impairment than miners without PMF. Kurth
                                    et al. described the association between presence of PMF and airflow obstruction in
                                    never-smoking coal miners (Kurth, Laney, Blackley, & Halldin, 2020). Prevalence of
                                    airflow obstruction among never-smoking coal miners including those without radiographic
                                    evidence of pneumoconiosis was 7.7%, among those with evidence of pneumoconiosis
                                    16.4%, and among those with large opacities consistent with PMF 32.3%.

                                    Several reports have evaluated pulmonary function in those with PMF due to respirable
                                    crystalline silica. Rosenman et al. evaluated spirometry findings relative to chest x-ray
                                    findings among 526 individuals with silicosis listed in the Michigan state silicosis registry
                                    (Rosenman, Reilly, & Gardiner, 2010). In multivariate analyses controlling for age, duration
                                    of silica exposure, and cigarette-smoking status, odds ratios for mixed obstruction/restriction
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                                    and any spirometry abnormality were significantly higher in those with PMF compared to
                                    those with small opacity profusion category one.

                                    Grubstein et al. evaluated relationships between chest CT findings and pulmonary function
                                    test results in marble workers exposed to artificial stone dust and diagnosed as having
                                    silicosis (Grubstein et al., 2016). A chest CT score based on presence and severity of nodular
                                    profusion and PMF was calculated. Statistically significant inverse relationships were found


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                                    between chest CT score and various pulmonary function results including forced expired
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                                    volume in one second (FEV1) (r = −0.54, P < 0.0001), total lung capacity (r = −0.4, P
                                    < 0.0001), and single breath diffusion capacity for carbon monoxide (DLCO)(r = −0.6, P
                                    < 0.0001). Sari et al. evaluated relationships between CT findings and spirometry in 90
                                    patients presenting with PMF to an occupational disease clinic in Turkey (Sarı, Gökçek,
                                    Koyuncu, & Şimşek, 2022). Thirty-five of the patients were coal miners, and the rest
                                    were in occupations associated with silica exposure. Increasing PMF size was significantly
                                    associated with decreases in FEV1 and forced vital capacity (FVC).

                                    Overall, recently published literature continues to indicate that presence of PMF is
                                    associated with worsening of pulmonary function as measured by spirometry relative to
                                    pneumoconiosis of lesser severity. Recently published papers identified in this review did
                                    not specifically address the impact specifically of PMF on other types of pulmonary function
                                    tests, although diffusing capacity for carbon monoxide worsened with worsening CT score
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                                    in individuals with silicosis (Grubstein et al., 2016).


                      6.       Imaging of PMF
                                    Recent literature addresses various aspects of chest imaging in relation to PMF. Reports
                                    addressed the radiographic appearance of PMF imaged using chest x-rays and chest CT.
                                    They also addressed the ability to differentiate between PMF and lung cancer using
                                    fluorodeoxyglucose (FDG) positron emission tomography (PET) and magnetic resonance
                                    imaging (MRI).

                                    As background, it is important to be aware of the International Labour Office (ILO) system
                                    for classifying findings of pneumoconiosis in chest-rays (ILO, 2011). The ILO classification
                                    system is used widely and provides a standardized approach to describing the presence and
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                                    severity of findings of pneumoconiosis relative to appearances on standard films provided
                                    by ILO. First, film quality is graded. Then, the presence and frequency (profusion) of small
                                    opacities is graded. Small opacities are described based on their shape and size. Small round
                                    opacities are described as p (up to 1.5 mm diameter), q (1.5–3 mm diameter), or r (3–10
                                    mm diameter). Irregular small opacities are classified by width as s, t, or u, using the same
                                    width thresholds as for small rounded opacities. Profusion of small opacities is expressed on
                                    a four-point major category scale ranging from zero to three. Each major profusion category
                                    has three minor categories, expressed as two numbers with a slash between them, resulting
                                    in a 12-point scale ranging from 0/− to 3/+. Large opacities such as those defining PMF
                                    are defined as any opacity greater than one cm. These are classified as category A (one or
                                    more large opacities with a combined dimension not exceeding five cm), category B (one
                                    or more large opacities with a combined dimension exceeding five cm but not exceeding
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                                    the area of the right upper lung zone), or category C (one or more large opacities with a
                                    combined dimension exceeding the area of the right upper lung zone). Pleural abnormalities
                                    are also classified. Other abnormal features of the chest radiograph can be noted on a check
                                    list and comments can be provided. A classification system for chest CT scans paralleling
                                    the ILO classification system for chest x-rays has also been developed. It is called the
                                    International Classification of High-Resolution Computed Tomography for Occupational
                                    and Environmental Respiratory Diseases (Suganuma et al., 2009).


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                                Several recent reports describe the appearances of PMF in radiographic chest imaging.
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                                Halldin et al. described the appearances of PMF on chest radiographs obtained in coal
                                miners participating in periodic health surveillance in the United States from 2000 to 2015
                                (Halldin, Blackley, Markle, Cohen, & Laney, 2020). Two hundred four radiographs showing
                                PMF were identified. Large opacities were noted primarily in the right upper lung zone
                                (41%) and left upper lung zone (28%). However, 31% were in middle or lower lung zones.
                                Unilateral large opacities were described in 34%, of which 82% were on the right. The
                                median small opacity profusion category for radiographs with PMF according to the ILO
                                system was 2/1.

                                Sari et al. described CT findings in 90 patients presenting with PMF to an occupational
                                disease clinic in Turkey (Sarı et al., 2022). PMF was identified bilaterally in 90% of
                                cases, with 88.5% of the unilateral lesions in the right upper lobe. In 95.6% of cases,
                                PMF was solely in the upper lobes. Only 4.4% of cases had PMF lesions located in the
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                                middle and lower lobes. Potential reasons offered to explain upper lobe distribution were
                                increased particle deposition and lesser lymphatic drainage. Of 171 PMF lesions, shape was
                                irregular in 78.3%, spherical in 15.2% and discoid in 6.4%. Enlarged lymph nodes were
                                found in 83.3% of cases and lymph node calcification in 63% of cases. In 86% of cases,
                                band structures extended between the PMF lesion and adjacent pleura. In 80% of cases,
                                invagination in the adjacent lung parenchyma was observed. ILO classification of chest
                                x-rays identified a background of small opacities in all 90 cases. Predominant shapes of
                                small opacities were q (43.3%) and r (40%).

                                Jones et al. described silicosis in Australian artificial stone workers (Jones, Pasricha, Heinze,
                                & Mac Donald, 2020). Features of accelerated disease, including ground-glass opacities
                                and PMF, were prominent radiographic features. Takahashi et al. described CT findings
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                                in arcwelder’s pneumoconiosis vs. silicosis (Takahashi et al., 2018). Well-defined rounded
                                opacities (p < 0.0001), PMF (p < 0.0001), and mediastinal lymphadenopathy (p < 0.0001)
                                were more common in silicosis. CT identified more cases with large opacities than chest
                                x-ray. Among 33 silicosis cases, large opacities were identified in 14 by CT and in 6
                                by chest-ray. Large opacities were also identified in 4 of 66 patients with arc welders’
                                pneumoconiosis by CT and in 3 of 66 by chest x-ray. Another study described in detail
                                below in the section below on progression to PMF also showed greater sensitivity of
                                CT for detection of PMF (León-Jiménez et al., 2020). Ozmen et al. described chest CT
                                findings in denim sandblasters (Ozmen et al., 2010). Nodules were present in all cases
                                with centrilobular type as the commonest (63.6%). PMF was present in 11.4% of cases and
                                nodular profusion score correlated with the presence of PMF.
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                                Friedman et al. found associations between those who employed physicians to classify
                                x-rays for presence and severity of pneumoconiosis for compensation proceedings and
                                the physicians’ findings of PMF (Friedman, De, Almberg, & Cohen, 2021). There were
                                statistically significant differences, with those hired by defendants less likely and those hired
                                by claimants more likely to classify PMF. Thus, a limitation to determination of PMF in
                                contested proceedings is the potential for introduction of bias, perhaps because adversaries
                                hire experts who are likely to support their adversarial positions.



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                                Two papers described the utility of FDG/PET in differentiating between PMF and lung
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                                cancer. Choi et al. evaluated various metrics from FDG/PET and CT in making this
                                differentiation (Choi, Park, Yoo, Kim, & Kim, 2020). The FDG/PET metric was maximum
                                standardized uptake value (SUVmax) and the CT metrics evaluated included parameters
                                such as size, shape and density. Masses identified to be due to lung cancer had higher
                                SUVmax, longer short-axis diameter, smaller ratio of long to short axis diameter, and lower
                                density (measured as Hounsfield units). The authors concluded that assessment of FDG/PET
                                and CT features of masses may have a role in differentiating lung cancer and PMF in
                                those with pneumoconiosis. In contrast, Chung et al. found that FDG/PET identified PMF
                                lesions as hypermetabolic and thus might have only a limited role in the diagnosis of PMF,
                                particularly if lung cancer or granulomatous disease were diagnostic considerations (Chung,
                                Lee, Kim, Kim, & Kim, 2010).

                                Four papers addressed the potential role of MRI in evaluating PMF. Hekimoğlu et
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                                al. compared volumetric interpolated breath-hold examination (VIBE) and half-Fourier-
                                acquisition single-shot turbo spinecho (HASTE) fast MRI to chest CT (Hekimoğlu et al.,
                                2010). They found that a contrast-enhanced VIBE protocol provided the best imaging of
                                PMF as assessed by semi-quantitative rating of image quality and presence of artifacts
                                by 5 radiologists and could be an alternative to CT. Zhang et al. described the potential
                                clinical utility of MRI in differentiating PMF from lung cancer (Zhang et al., 2017). The
                                authors concluded that PMF lesions of pneumoconiosis can be differentiated from lung
                                cancer tumors by evaluating T2-weighted images and spectral presaturation with inversion
                                recovery (fat suppression) images (SPIR). T2-weighted images and SPIR showed slightly
                                low, equal, and uneven equal-low signals relative to chest wall muscle in 97.4% and 94.9%
                                of PMF cases, respectively. In contrast, for lung cancer, high signals on T2-weighted images
                                and SPIR relative to chest wall muscle occurred in 95.2% of cases. The authors concluded
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                                that MRI was potentially useful for identifying PMF. Ogihara et al. found that T2-weighted
                                images differentiated between PMF and lung cancer, with low signal intensity in PMF and
                                high signal intensity in lung cancer (Ogihara et al., 2018). The investigators concluded
                                that when differentiation between PMF and lung cancer is difficult by chest CT, MRI with
                                T2-weighted images might help to distinguish between the two. Guneyli et al. found that
                                several MRI-related parameters distinguished between PMF and lung cancer (Guneyli et al.,
                                2021). On T1-weighted spin-echo, T2-weighted spin-echo, and single-shot turbo spin echo
                                most PMF lesions were predominantly iso- or hypointense. However, most malignant lesions
                                predominantly showed high signal intensity.

                                Overall, recent literature continues to advance the understanding of chest imaging in PMF.
                                Large opacities primarily occur in the upper lobes, with a greater upper lobe predominance
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                                reported in a study using CT imaging (Sarı et al., 2022) than in a study using chest x-rays
                                (Halldin et al., 2020). Bilateral PMF was identified in 90% of cases by CT (Sarı et al.,
                                2022) and in 66% of cases by chest x-ray (Halldin et al., 2020). Perhaps these differences
                                occurred because CT is more sensitive in detecting PMF than chest x-ray (León-Jiménez et
                                al., 2020; Takahashi et al., 2018). Unilateral PMF occurs most frequently in the right upper
                                lobe and PMF is generally accompanied by concurrent small opacities. CT demonstrates that
                                PMF often involves adjacent pleura (Sarı et al., 2022). Pure PMF appears as hypermetabolic
                                on FDG/PET imaging, which cannot differentiate on its own between PMF, cancer, and

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                                     granulomatous inflammation such as from tuberculosis. MRI shows promise in identifying
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                                     PMF and in differentiating it from lung cancer.


                      7.       Progression to PMF
                                     Several recently published papers have sought to describe the frequency and risk factors for
                                     radiographic progression to PMF in CWP and silicosis. A study examined progression from
                                     no radiographic findings of pneumoconiosis or findings of small opacity pneumoconiosis
                                     to PMF in coal miners who had filed as claimants for black lung benefits in the United
                                     States (Almberg, Friedman, Rose, Go, & Cohen, 2020). Findings were based on chest
                                     x-rays classified using the standardized ILO classification system. Out of 37,548 coal
                                     miners identified as claimants from 2000 to 2013, 3351 had records of chest x-rays at
                                     least two years apart. At the time of last chest x-ray, 18/1786 (1%) who were Category 0
                                     at baseline (no pneumoconiosis) progressed to PMF; and of those with small opacities at
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                                     baseline, 54/1384 (3.9%) of Category 1, 29/158 (18.4%) of Category 2, and 10/23 (43.5%)
                                     of Category 3 progressed to PMF. Of the 111 miners who progressed to PMF, 52 (46.8%)
                                     did so in 5 years or less and 19 (17.1%) did so in 2 years. Younger age at time of first
                                     chest x-ray obtained for claims and higher small opacity profusion on first chest x-ray were
                                     significantly associated with progression to PMF.

                                     Another study examining progression to PMF in coal miners used data from a national
                                     program of health surveillance offering periodic chest x-rays classified according to the
                                     ILO system to active coal miners in the United States (Laney, Blackley, & Halldin, 2017).
                                     Participation in the program is voluntary and many miners do not have chest x-rays at the
                                     planned interval of about every 5 years. However, the investigators identified 192 miners
                                     with PMF first identified between January 2000 and October 2016 who had at least one prior
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                                     radiograph. 84% had worked in Kentucky, West Virginia, or Virginia and 88% had worked
                                     only underground. Mean time to progress from a normal radiograph to PMF in the program
                                     was 20.7 years and 17% progressed from normal radiograph to PMF in <10 years. The
                                     interval to documentation of progression was shorter in those who had more surveillance
                                     chest radiographs during their careers.

                                     One report addressed progression to PMF in silicosis among 106 Spanish artificial stone
                                     workers diagnosed from 2009 to 2018 with subsequent clinical follow up (León-Jiménez et
                                     al., 2020). Data are reported for both chest x-rays classified using the ILO system and chest
                                     CT scans classified using the standardized International Classification of High Resolution
                                     Computed Tomography for Occupational and Environmental Respiratory Diseases system.
                                     All patients stopped working in the stone industry after they were diagnosed. At diagnosis,
                                     evaluation with chest x-ray identified 82/106 (77.4%) with small opacity disease and 5/106
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                                     (4.7%) with PMF. After a mean follow-up of 4 years, the number with PMF had increased to
                                     31, despite 6 patients being lost to follow up. In contrast, evaluation at the time of diagnosis
                                     with chest CT identified more patients with small opacity disease, 99/106 (93.4%), and more
                                     with PMF, 7/106 (6.6%). After a mean period of follow-up of 4 years, despite removal from
                                     additional respirable crystalline silica exposure, the number of workers with PMF identified
                                     by chest CT had increased to 40/106 (37.7%). In multivariate analysis, lower baseline FVC



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                                    (p < 0.01) and longer duration of working with artificial stone (p = 0.06) were associated
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                                    with increased risk for progression to PMF.

                                    These recently published papers provide much useful information about risk factors for
                                    progression to PMF. Presence of small opacities is an important risk factor for progression to
                                    PMF, with risk increasing at higher small opacity profusion (Almberg et al., 2020). Among
                                    coal miners in the United States, working in the central Appalachian region where exposure
                                    to crystalline silica has been implicated as an important in causing pneumoconiosis and
                                    presenting for compensation at a younger age which may be a marker for heavier exposures
                                    to coal mine dust are risk factors for progressing to PMF (Almberg et al., 2020; Laney et
                                    al., 2017). Among artificial stone workers with silicosis, lower baseline FEV1 and longer
                                    duration of exposure were risk factors for progression to PMF (León-Jiménez et al., 2020).


                      8.       Conclusion
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                                    Severe pneumoconiosis with PMF continues to be an important problem throughout
                                    the world. The reports identified in this overview of the literature provide advances in
                                    understanding the pathophysiology of PMF, epidemiology of the occurrence of PMF and
                                    related conditions, the impact of PMF on pulmonary function, advances in imaging of PMF,
                                    and factors affecting progression of pneumoconiosis in dust-exposed workers to PMF.

                                    Recent literature on the pathophysiology of PMF supports the importance of crystalline
                                    silica as a cause of PMF in contemporary coal miners from the United States and in
                                    silica-exposed artificial stone workers. In addition, the presence of PMF is associated with
                                    blood markers of inflammation and injury with the potential to be useful as biomarkers
                                    of disease. There has been relatively little recent progress in identifying basic mechanisms
                                    specific to progression from small opacity/nodular CWP and silicosis to PMF. The lack of a
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                                    generally accepted rodent model for PMF that parallels the features of human disease is an
                                    important barrier to progress. This is also an important barrier to pre-clinical identification
                                    and testing of therapeutic agents aimed at preventing progression of CWP and silicosis to
                                    PMF.

                                    Recently published epidemiological studies also support the role of respirable crystalline
                                    silica as a component of coal mine dust that causes a mixed dust pneumoconiosis including
                                    PMF that has appeared in recent decades as an emerging disease among coal miners in the
                                    United States. Recent epidemiological studies have also documented silicosis in artificial
                                    stone workers as an important emerging cause of PMF, with some workers presenting with
                                    advanced disease after considerably <10 years of exposure. In addition, silica exposure and
                                    PMF continue to occur in traditionally recognized settings such as sandblasting, foundry
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                                    work, and stone crushing operations.

                                    Consistent with older studies, recent literature continues to show that development of PMF
                                    is associated with a substantial decline in pulmonary function relative to no disease or small
                                    opacity pneumoconiosis. Older studies also show that development of PMF is associated
                                    with increased morbidity and mortality (Attfield et al., 2022).




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                                In recent reports, computed tomography has had greater sensitivity for detecting PMF than
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                                chest x-ray. Recent studies show that PMF occurs with an upper zone predominance and
                                most often occurs bilaterally, although it can occur in the mid or lower lung zones and
                                unilaterally. Unilateral PMF occurs predominantly in the right upper zone. By CT, PMF
                                often involves the pleura. Magnetic resonance imaging shows promise in differentiating
                                between PMF and lung cancer. On its own, FDG/PET cannot make this differentiation.

                                PMF can develop in dust-exposed workers without previously identified small opacity
                                pneumoconiosis. However, the presence of small opacity pneumoconiosis increases the risk
                                for progression to PMF, as does heavier dust exposure. Recent literature does not document
                                any effective new treatments to prevent PMF in dust-exposed workers and new therapies to
                                prevent PMF in high-risk individuals and to treat it once present are important needs.


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                                Fig. 1.
                                Chest radiograph of individual with PMF. Well-defined large opacity with flat margin
                                laterally in the right upper zone. Background of small opacities present bilaterally in
                                the upper and middle zones with minimal involvement of the right lower zone, and no
                                involvement of the left lower zone. Arrow shows coalescence of small opacities, a precursor
                                to formation of a large opacity, in the right middle zone (arrow). Source: CDC-NIOSH.
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                                                                                                                                                                            Table 1

                                                                              References on PMF included in review.

                                                                               Subject area / reference                    Type of study                          Comment
                                                                                                                                                                                                                                                                                      Weissman




                                                                               Occurrence of PMF and Related Conditions in Work and Environmental Settings
                                                                               Coal Mining
                                                                                 Almberg et al., 2018                      Observational, no control              Reports findings among those filing for benefits from the U.S. Black Lung Benefits Program for the period 1970–
                                                                                                                                                                  2016
                                                                                 Blackley et al., 2014                     Observational, no control              Reports findings from U.S. coal miners participating in a health screening program, 2005–2012
                                                                                                                                                                                                                                                                                                 Case 2:25-cv-00227




                                                                                 Blackley et al., 2016                     Observational, no control                                                         1
                                                                                                                                                                  Reports a cluster of coal miners with PMF cared for in a clinic in eastern Kentucky
                                                                                 Blackley, Halldin, & Laney, 2018          Observational, no control              Reports findings from national surveillance for pneumoconiosis in U.S. coal miners, 1970–2017
                                                                                 Blackley, Reynolds, Short, et al., 2018   Observational, no control              Reports a cluster of coal miners with PMF cared for in 3 clinics in western Virginia
                                                                                 Graber et al., 2017                       Observational, no control              Reports findings among those filing for benefits from the U.S. Black Lung Benefits Program for the period 2001 to
                                                                                                                                                                  2013
                                                                                 Halldin et al., 2015                      Observational, no control              Describes 8 surface coal miners with PMF identified in U.S. screening program, 2010–2011
                                                                                                                                                                                                                                                                                                 Document 7-7




                                                                                 Hall et al., 2020                         Observational, no control              Reports findings among U.S. surface coal miners participating in national surveillance, 2014–2019
                                                                                 Hall et al., 2022                         Observational, no control              Reports findings among American Indian/Alaska native participants in national surveillance, 2014–2019
                                                                                 Laney & Attfield, 2010                    Observational, no control              Reports findings among U.S. coal miners participating in national surveillance, 1970–2009
                                                                                 Laney, Petsonk, & Attfield, 2010          Observational, no control              Reports findings among U.S. coal miners participating in national surveillance, 1980–2008
                                                                                 Laney, Wolfe, Petsonk et al., 2012        Observational, no control              Reports findings among U.S. surface coal miners screened for pneumoconiosis, 2010–2011
                                                                                 Laney, Petsonk, Hale, et al., 2012        Observational, no control              Reports findings among U.S. coal miners participating in health screening, 2005–2009
                                                                                 Reynolds et al., 2018                     Observational, no control              Reports results of interviews to identify hazards experienced by19 former U.S. coal miners with PMF
                                                                                                                                                                                                                                                                                                 Filed 04/21/25




                                                                                 Tomaskova et al., 2012                    Observational, cohort study with       Former coal miners in the Czech Republic without coal workers’ pneumoconiosis or with varying degrees of
                                                                                                                           comparison to general male             radiological severity of coal workers’ pneumoconiosis
                                                                                                                           population




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                                                                                 Vallyathan et al., 2011                   Observational, no control              Reports results of lung histopathology from coal miners’ autopsies submitted to U.S. government program, 1971–
                                                                                                                                                                  1996
                                                                                 Wade et al., 2011                         Observational, no control              Reports findings among coal miners filing for compensation from the West Virginia State Occupational
                                                                                                                                                                  Pneumoconiosis Board, 2000–2009
                                                                               Settings Associated with Silicosis
                                                                                 Bakan et al. 2012                         Observational, follow up of clinical   Describes features of silicosis in 32 Turkish denim sandblasters followed for a median of 29 months (range 3–101
                                                                                                                           cohort                                 months).
                                                                                 Govindagoudar et al., 2021                Observational, no control              Reports results of radiographic screening of stone crushing workers in India
                                                                                 Hua et al., 2022                          Observational, no control              Describes features of registrants in an international registry of engineered stone workers with silicosis
                                                                                 Hoyet al., 2017                           Observational, no control              Case series of silicosis in 7 Australian workers engaged in workwith artificial stone
                                                                                                                                                                                                                                                                                      Page 20
                                                                                                                                                                                                                                                                                                 Page 20 of 22 PageID #: 123
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                                                                              Subject area / reference              Type of study                          Comment

                                                                                Kramer et al., 2012                 Observational, no control              Describes 25 artificial stone workers with silicosis who were referred to a lung transplantation program in Israel
                                                                                Lopes et al., 2012                  Observational, cross-sectional         Describes and compares features of silicosis in 25 Brazilian shipyard sandblasters and 16 Brazilian stone carvers
                                                                                                                    comparison of sandblasters and stone
                                                                                                                                                                                                                                                                                  Weissman




                                                                                                                    carvers
                                                                                Nandi et al., 2021                  Observational, no control              Describes silicosis in sandstone mine workers in Rajasthan, India.
                                                                                Nicol et al., 2015                  Observational, no control              Describes 6 cases of silicosis among stonemasons <40 years old in the UK
                                                                                Reilly et al., 2018                 Observational, no control              Describes cases of silicosis reported to the state of Michigan, 1988–2016
                                                                                Siribaddana et al., 2016            Observational, no control              Describes silicosis in employees of a quartz processing facility in Sri Lanka
                                                                                                                                                                                                                                                                                             Case 2:25-cv-00227




                                                                                Spalgais et al., 2015               Observational, no control              Describes 6 cases of nonoccupational anthracosis and silicosis among homemakers in the Ladakh region of Jammu
                                                                                                                                                           and Kashmir, India
                                                                                Wu et al., 2020                     Observational, cross-sectional         Describes and compares features of silicosis in China in18 artificial stone workers and 63 natural stone workers who
                                                                                                                    comparison of artificial and natural   had worked in jade processing or in mines
                                                                                                                    stone workers
                                                                              Progression to PMF
                                                                              Almberg et al., 2020                  Observational, no control (cohort)     Reports findings among those filing for benefits from the U.S. Black Lung Benefits Program who had more than
                                                                                                                                                           one chest x-ray in the period 2000–2013
                                                                                                                                                                                                                                                                                             Document 7-7




                                                                              Laney et al., 2017                    Observational, no control (cohort)     Reports findings among U.S. coal miners first found to have PMF during national surveillance conducted 2000–
                                                                                                                                                           2016 who had at least one prior chest x-ray
                                                                              León-Jiménez et al., 2020             Observational, no control (cohort)     Reports findings among 106 Spanish artificial stone workers diagnosed with silicosis from 2009 to 2018 with
                                                                                                                                                           subsequent clinical follow up for a mean of 4 years
                                                                              Association Between PMF and Pulmonary Function
                                                                              Grubstein et al., 2016                Observational, no control              Describes findings in marble workers exposed to artificial stone dust referred to an outpatient pulmonary clinic in
                                                                                                                                                           Israel, 1997–2015
                                                                              Kurth et al., 2020                    Observational, no control              Describes findings in U.S. coal miners participating in health screening, 2005–2016
                                                                                                                                                                                                                                                                                             Filed 04/21/25




                                                                              Rosenman et al., 2010                 Observational, no control              Describes findings in individuals with silicosis reported to the Michigan Silicosis Registry, 1985–2002.
                                                                              Wang et al., 2013                     Observational, no control              Reports findings among U.S. coal miners participating in health screening, 2005–2009
                                                                              Imaging of PMF




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                                                                              Choi et al., 2020                     Retrospective evaluation of patient                                    2     3
                                                                                                                    data                                   Retrospective evaluation of PET /CT findings from 49 patients with pneumoconiosis being evaluated for
                                                                                                                                                           suspected lung cancer
                                                                              Chung et al., 2010                    Retrospective evaluation of patient                                     4
                                                                                                                    data                                   Retrospective evaluation of FDG /PET findings from 9 patients with PMF

                                                                              Friedman et al., 2021                 Observational, no control              Describes findings of physicians classifying chest x-rays in U.S. Black Lung Benefits proceedings that were filed
                                                                                                                                                           2000–2013
                                                                              Guneyli et al., 2021                  Retrospective evaluation of patient    Describes magnetic resonance imaging findings in 60 male patients with histories of working in underground coal
                                                                                                                    data                                   mines who were evaluated due to suspicion of lung cancer after computed tomography.
                                                                              Halldin et al., 2020a                 Observational, no control              Describes findings on chest radiographs showing PMF obtained from U.S. coal miners participating in periodic
                                                                                                                                                           health surveillance from 2000 to 2015
                                                                                                                                                                                                                                                                                  Page 21
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                                                                                  Subject area / reference               Type of study                            Comment

                                                                                  Hekimoğlu et al., 2010                 Prospective evaluation of patient data   Describes findings from 20 coal workers with PMF evaluated with computed tomography and magnetic resonance
                                                                                                                                                                  imaging
                                                                                  Jones et al., 2020                     Observational, no control                Describes and provides review of radiologic findings encountered during Australian outbreak of silicosis in artificial
                                                                                                                                                                                                                                                                                           Weissman




                                                                                                                                                                  stone workers and provides examples from several individual cases
                                                                                  Ogihara et al., 2018                   Retrospective evaluation of clinical     Retrospective evaluation of 28 patients with known pneumoconiosis undergoing magnetic resonance imaging
                                                                                                                         data                                     because of concern for possible lung cancer
                                                                                  Ozmen et al., 2010                     Observational, no control                Describes chest computed tomography in 60 consecutive patients with histories of exposure to silica during denim
                                                                                                                                                                  sandblasting presenting for care at a clinic in Turkey
                                                                                  Sari et al., 2022                      Observational, no control                Describes chest computed tomography in 90 patients with PMF primarily after coal mine dust or silica exposure in
                                                                                                                                                                                                                                                                                                      Case 2:25-cv-00227




                                                                                                                                                                  Turkey
                                                                                  Takahashi et al., 2018                 Observational, cross-sectional           Describes and compares radiologic findings in 66 patients with arc welders’ pneumoconiosis and 33 patients with
                                                                                                                         comparison 2 occupational groups.        silicosis seen in Japanese clinics
                                                                                  Zhang et al., 2017                     Retrospective evaluation of clinical     Compares magnetic resonance imaging findings from 25 patients with coal workers’ pneumoconiosis and PMF and
                                                                                                                         data                                     34 patients with lung-tumor like lesions (21 had lung cancer)
                                                                                  Mechanisms of PMF Development
                                                                                  Cohen et al., 2016                     Observational, no control                Reports histopathology and lung particle analysis from 13 coal miners with rapidly progressive pneumoconiosis
                                                                                  Cohen et al., 2022                     Observational, with comparison group     Reports histopathology and lung particle analysis from 85 coal miners with PMF, compares coal miners born before
                                                                                                                                                                                                                                                                                                      Document 7-7




                                                                                                                                                                  and after 1930
                                                                                  García-Núñez et al., 2022              Observational, with comparison group     Reports and compares blood inflammation biomarkers in 53 artificial stone workers with small opacity silicosis, 38
                                                                                                                                                                  with PMF, and 22 healthy male volunteers
                                                                                  Komai et al., 2019                     Animal model                             Describes animal model of silicosis induced by intratracheal instillation of silica in F344 rats
                                                                                  Lee et al., 2015                       Observational, cross-sectional           Describes findings in 106 male retired Korean coal miners, with results compared between those without
                                                                                                                         comparison of subgroups                  pneumoconiosis, those with small opacity pneumoconiosis, and those with large opacities (PMF)
                                                                                  León-Jiménez et al., 2021              Observational, no comparison group       Describes histopathologic and mineralogic analyses of lung biopsies from seven engineered stone workers with
                                                                                                                                                                  silicosis, four of which developed PMF during follow up
                                                                                                                                                                                                                                                                                                      Filed 04/21/25




                                                                              1
                                                                                  Progressive massive fibrosis.
                                                                              2




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                                                                                  Positron emission tomography.
                                                                              3
                                                                               Computedtomography.
                                                                              4
                                                                               18-Fluorine-labeled 2-deoxy-2-fluoro-D-glucose.
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